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                EXHIBIT 1
Case 1:21-cr-00040-RJJ ECF No. 92-1, PageID.943 Filed 02/18/22 Page 2 of 4




                INTERNAL REVENUE SERVICE –
                     GRAND RAPIDS, MI

                      Case Number: 1000291709
                Transcription of Undercover Recordings
                      Oct122018104331EDT.MP3
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  2      putting it.

  3            MR. BODEN:       I get 4%.       No matter what, I get

  4      4% because we ’re not a financial institution.

  5      We’re a science center and my job is to get you

  6      into bitcoin as cheap as I possibly can.

  7            IRS UNDERCOVER AGENT:            Okay.

  8            MR. BODEN:       Okay?     So whatever the best

  9      price I can get, and I buy from like eight

 10      different people, but            whatever the best price I

 11      can get and whoever the hell is awake at this

 12      hour of the day ‘cuz we do it globally, okay?

 13            IRS UNDERCOVER AGENT:               - - up.       [Laughter]

 14            MR. BODEN:       Yeah, I know.

 15            IRS UNDERCOVER AGENT:            He was telling me and

 16      boy, I said, boy.

 17            MR. BODEN:        Hey, you can, you can call me,

 18      if you’re doing serious buys, you can call me on

 19      a Sunday night before Christmas at 10:00 at

 20      night, and if I’m awake and the phone rings, I’m

 21      there.

 22            IRS UNDERCOVER AGENT:            Okay.

 23            MR. BODEN:       So yeah, that, when I, for

 24      serious clients, we don’t fuck around.

 25            IRS UNDERCOVER AGENT:            Okay.
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                           Phone: 212-346-6666 * Fax: 888-412 -3655
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  2            MR. BODEN :       And our entire focus is

  3      education.      That’s the point.           I don’t give a

  4      shit what you do with it              - - .

  5            IRS UNDERCOVER AGENT:            That’s 1000.

  6            MR. BODEN:       Okay.

  7            IRS UNDERCOVER AGENT:            And if next time you

  8      tell me you want it in low society or high

  9      society --

 10            MR. BODEN:       No, it, it doesn’t matter.

 11      Hundreds are great.          Hundreds are easy to count.

 12            IRS UNDERCOVER AGENT:            Okay, cool.

 13            MR. BODEN:       It’s when, it’s when guys come

 14      in here and they want $25,000 and they show up

 15      with 20s and I’m like, oh, fuck you, man.

 16            IRS UNDERCOVER AGENT:            Yeah, no.        And if I

 17      really wanted to piss you off, I’d show up with

 18      a bunch of pennies.

 19            MR. BODEN:       Been done.

 20            HSI UNDERCOVER AGENT:            Pennies?

 21            [Laughter]

 22            IRS UNDERCOVER AGENT:            See, I was just

 23      trying to be funny and he didn’t even lau                      gh.   He

 24      didn’t even laugh at that.

 25            (OFF -MIC)
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